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                       EXHIBIT A
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                         IN TILE SUPERIOR COURT OF GWII%qEIT COUNTY

                                             STATE Or GEORGIA

Datapath, inc.        -       -       --           -
          ~'                                         aTM Ac TKox 0
                                                      rYt Ex       7A-07908-2

                                      rr. An aW
                      vs.
General satooM Tedbnolo •                   inc.




                                      DE3 E NDANT

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George D . WcWck and Regiaaid M . Jones, Smith. Gbrric & Hukcack I.LP, 2700 Marquis Oar Tower,
245 PeacLtrx Ceutar Avcano, N .E., Asks, Georgia, 3Q303-1227 ; phone 404-521-3800 ; faac484-688-0671

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                   IN THE SUPERIOR COURT OF GWINNETT COUNTY                   uWWWcTT COW TY, GA
                               STATE OF GEORGIA                               Ir97 xLS; 3 ! P11 4: 22
DAfAPATH, INC.,                              )}                              101 LAWLER . CLERK
      Plaintiff.                }
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                                                        FILE NO. CO ~.`       0 7 y 0~- 2
GENERAL DYNAMICS SATCOM
TECHNOLOGIES, INC.,                          )
                                           1
      Defendant                           y

                            VERIFIED COMPLAINT AND
                       APPL.ECATlON FOR INJUNCTIVE RELIEF

       COMES NOW Plain tiff DataPath, Inc. ("DataPath ) and files this Verified
Complaint and Application for Injunctive Reflef and Specific Performance against

Defendant General Dynamics SATCOM Technologies . Inc. ("Genera! Dynamics,
stating as follows:
                                         PARTIES

       7.     PsairOff Data Path Is a corpo ration organized and existing unde r the laws
of the State of Georgia, having Its principal place of business at 3095 Satellite
Boulevar d, Suite OW, Duluth, Gwin nett County, Georgi a 34x96-03Q0.

       2. Defendant General Dynamics is a co rporation organized and wdftg
under the laws of the State of Delaware, having a principal place of bossiness at 482
River Green Parkway, Duluth, Gvvfnnstt County, Georgia 30096 .
                              JURISDICTION           VENUE

       3 . Subject mafter and personal jurisdiction are proper In this Court .
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      4. Venue !s proper In this Court in accordance with O.C.G.A. § 9-1 D-30 and

O.C,GA. § 14-2-510.

                               gAC_TUAL BACKGROUND

        The 1113110 Contract Solicitation and the Parties' Teaming Agrooment
      5. The United States Department of the Army, U.S. Army Communications-
Electronics Command , rGovemmenC) operates the World-Wide. Satellite Systems

program "SS Program"), which proMes satellite communications for the
Department of Defense.
      0.      Under the WWSS Program, the Government satiated proposals for an

lndefinlte DellverylindefinHe Quantity contract CLU11Q Contrac'Y'), known as Contract No .

Wi 5P7T-06-D-1219, under which the Government intended to purchase sIx satellite

terminal types.
      7. The Government Intended to issue such MAO Contracts to six
cantrastors, who would then be eligible for s period o f five years to submit proposals for
Individual Delivery Orders under such contracts . Purchases under all ID/IQ Contract
were expected to total savors[ bAlbn dollars.
      8.      The IDIIQ Co ntract solicitation r equired each proponent to submIt

tnfcrmadart In their proposal concerning each of the six satellite terminal types That the
Government expected to purchase and to demonstrate that they had the capabUlty end
experience necessary to deliver working solutions for all six types . Specficai[y. the

solicitation stated that the Contractor must be capable of providing a tumAey solution
for ell terminal types that meet specific user requirements as delineated in each RTEP .'




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       9. DataPath had the capability and experience necessary 1b dernter working
solutions for all six satellite types and submitted a proposal for the IDIIQ Contract,
based on its equipment for all types .
       10 . Through Its wholly owned subsidiary, RSIMaryland, Inc., trading as
VertexRSI ("VertexRSl"y, General Dynamics wished to submit Its own proposel for the
ID/IQ Contract and, thereby, compete with DataPath .
       11.    General Dynamics was unable to submit a proposal on its own, however .

It lacked the capacity and experience necessary to prepare a proposal for and deliver
Prime MaverlTraber Mounted Satellite Terminals ('Type 61 and Deployable Satelllte
Earth Terminals ('Type 6' ). Without a solution for Type 5 and Type 6 satellite terminals,
General Dynamics could not satisfy the GovemmenYs requirements .

       12 . The Government expressly authorized contractors that were unable to

provide solutions for all sbc terminal types to team up with other companies to present a

proposal that included all six satellite terminal types . Specifically, the Government

advised prospective offerors, as ivllaws :

       A prime offeror must provide a solution for ALL termingl types and
       associated hardware and software services ire the PWS . You may partner
       with other companies so you are able to provide a solution for ALL
       terminal types and associated hardware and software services in the PWS
       13. To overcome its deficiencies concerning Type 5 and Type 6 satellb
terminals, General Dynarnics, acting through VertexiSl, entered Into a written teaming

agreement ('Teaming Agreement) with DstaPath . A due and correct copy of the

Teaming Agreement Is attached as Exhibit A . A true and correct copy of a Reciprocal

Proprietary Information Non-Disclosure Agreement, which was Incorporated Into the

Teaming Agreement by express reference, is attached as Exhibit B .


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       14. The Teaming Agreement states tha# It shall be binding upon and inure to

the benefit of the Parties hereto and their respective successors and assigns .0 After

execution of the Teaming Agreement VertexRSI was dissolved and General Dynamics

succeeded to Its interests, Including its Interests In the Teaming Agreement with

DataPath . Accordingly, General Dynamics became bound by such agreement .

      15. The Teaming agreement expressed a two-part bargain :
             ∎ Firsts aafaPath agreed to provide General Dynamics with
                    technical assistance In preparing General Dynamics's a
                    propose l for the IDIIQ Contract based on DataPath's prove
                    equipment far the Tyke 5 and Type 6 satellite terminals,
                    Including an accurate technical and price proposal .
                    Second, in exchange for DataPath's assistance in preparing
                    such proposal, General Dynamics agreed that, If General
                    Dynamics were successful In obtaining one of the IDlIQ
                    Contracts and any delivery orders under it, DataPath would

                    be the exclusive supplier for all Type 5 and type 6 satellite
                    terminals. Specifically, the Teaming Agreement stated In ft
                    Statement of Work ('SOW") that 'D9taPath will be the
                    exclusive provider of the complete terminals In accordance
                    With the requirements stated !n sample tasks 5 and 6 ofthe
                    W1NSS solicitation!

       16.   Under the Teaming Agreement General Dynamics also agreed to
disclose its relationship with DataPath to the Government and Include appropriate
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recognition of [DataPath's] participation In and contributions to the Proposal and a
recommendation of (DataPathj as the suboorttracflar far ate portion of the prime contract

assigned to jDataPathJ. ..,'

       17.   The Teaming Agreement defines the terms of the subcontract that
General Dynamics agreed to Issue to DataPath, upon General Dynamics's receipt of a
contract from the Government Spacfficany, the Teaming Agreement stated that such
subcontract would make DataPath the exclusive provider of Type 5 and Type 6 sateMte
terminals and would Include the inilowing additional terms:
      Ji) those terms and conditions In the prime contract that (General
      Dynamics] must Include in the subcontract (1i) [General Dynamic's]
      standard terms and conditions for subcontracts except a modified by
      mutual agreement of the parties and {i1i) other terms and conditions
      negotiated In good faith between the Parties .

       18.    After reviewing the responsive proposals, on August 29, 2006, the

Government awarded DataPath one of the 1DHQ Contracts . The Government also

awarded ID/10 Contracts to General Dynamics and four other oontr'acfars.
              The Government's RT9P W15PTT-0S-MAQB (WINT 002)

       19. Pursuant to the IDnQ Cartracta, the Government Issued a Request for
Task Execution Plan (" RTEP") W15P7T-0S-R-L408 (VYINT 002), whIch sdiclte cd a
propose[ fiat a Delivery Order . W7 5P7T-06-R-L406 (WINT 002) Included Type 5

satellite terminals, as well as other terminal types .
       20.    DataPath and Geberal Dynamics submitted proposals for the RTEP

W45PTT-06-R-L446 (WINT 002), and the Government awarded Delivery Order

W15PTT-06 -Q-1.2' l9 under that RTEP to Genera l Dynamics .




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      21 . The Government Is Rely to issue amendments to Delivery Order

UV15P7T-06-D4.2'i9 that call for delivery flf edditianal satellite terminals . The exact
quantity of additional satelft terminals is unknown but could easily equal four times to

number of satellite terminals delivered under the original RTEP.

      22. As required by tie Teeming Agreement, on June 22, 200T, General
Dynamics entered Into a subcontract wry QataPath, under which General Dynamics
agreed to pumhase from DataPath all Type 5 satellite terminals that General Dynamics

was to supply to the Government under Delivery OrderW15P7T-06-D-L219 . The
subcontract expressly Included all Type 5 satellite terminals that may be required by any
amendments to the Delivery Order Wi 5P7T-06-D-1219 .

       23 . Specifically, the subcontract between General Dynamics and DataPath for
D ellvery Order W1 aP7T-DB -D-L219 stated that "DataPath shall be the exclusive

provider of the STT under lNtSPTf-06-g-L2t9 , Delivery Order 0002 Support Wide

Area Network (SWRIV) l or a rry amendment under Delivery Order 0002.' A true and

correct copy of the subcontract for RTEP W9 5P7T-0B-D-L2t9 Is attached ho rato as

Exhibit C.
              The Govemmonfs RTEP W75PTT-OT-R4A35 (WINT 0014)

       24.    Pursuant to the IDnQ Contrail, the Government Issued RTEP 1N15P7T-

O7•R-L435 (WINT OOi4~ which solicited proposals for an additional Delivery Order.
RTEP W! 5P7Y-QT-R L435 (WINT 0014) inducted Type 5 sateflite terminals.

       25.     DataR A and General Dynamics submitted proposals for RTEP W 75P7'T

07 R-L435 (WINT OQ14~




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      26. As a result of working with DataPath and performing under the WWSS
Program, General Dynamics has apparently developed the capacity and experience
necessary to produce Its own Type 5 satellite terminals, without aataPath .
      27. General Dynamics did not request Information from Da+aPath before

submitting a proposal in response to RTEP W15Pi 'I'-07-R-l435 (WANT 0014) and, on

information an d belief. General Dynamics submitted Its own Type 5 sate llite terminal as

part of its proposal In response to RTEP W15PTf-O7-R4A35 (WINT X014), instead of

submitting DataPath's Type 5 satellite ter minal, as the Teaming Agreement required.

      28.    The Government has awarded General Dynamics a Delivery Order under
RTEP W15P7T-0T-R -L435 (WINT 00'l4~
      29.    The Government is likely to issue wriendments to or exercise options
concerning RTEP W 4 5P7T-O7-D-L435 MINT 0014) that call for delivery of addMonaf

satellite terminals . The exact quantity of addftnal satellite terminals Is unknown but

could easily equal 36 times the number of satellite terminals to be delivered under the

bow award.

       30 . Pursuant to Teaming Agreement, General Dynamics Is obligated to obtain
from DataPath all Type 5 satellite terminals for the Delivery Order Issued under RTEP

INi5PTT-07-R-L435 (WINT 0014) . Including all amendments to and options under that

Delivery Order.

       31 . General Dynamics has not requested DataPath to begin production of

Type 5 satellite terminals to meet the requirements of RTEP W1 5PTT-07-R-L435 MINT

0014). In light of the aggressive delivery schedule under that delivery order, General
[ynamlcs's failure to make such request Is further confirmation of its Intent to breach Its



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obligations to DataPath under the Teaming Agreement by not obtaining Type 5 satefltte
terminals from DataPath.

      32 . General Dynamics would riot have received the IDIIQ Contract Without
DataPath's assistance concerning Type 5 satellite terminals end, therefore, General
Dynamics would not have received the Delivery Order under RTEP W15PTT-O7-R-L435
(WINT 0014), without DataPath's assistance.

      33.     DataPath would be damaged by General Dynamics's failure to purchase
all Type 5 satellite terminals from DataPath for RTEP WISPTT-a7-R-lr435 (WINT 0014),
in an amount that IS based in part on the number of Type 5 sateilita terminals initially

required by that RTEP.
      34. DataPath does not have an adequate remedy at law for General
Dynamics's breach of the Teaming Agreement be causo . bier 0s. the total amounts of

some of DataPath's money damages are too speculative to calculate.

      35 . DataNth would be damaged by General Dynamjcs's failure to purchase
all Type 5 terminals from DataPath under all amendments to and options under RTEP
W15P7T-07'-R-L435 (WINTD014~ The total amount of addWonal damages associated
with such amendments and options is too speculative to calculate at present because of
the uncertainty about the exact number of Type 5 satellite terminals that may be added

by amendments and options .
       36. DetaPath would be damaged by General Dynam[cs's failure to purchase
all Type 5 term inals from DataPath under all amendments to and options under RTEP

W1 5P7T-07-R-L435 MI NT 0014), In an additional amount that Is to speculattve to
ca lculate at present DataPath may lose opportunities under future Delivery Orders that



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the Government may issue under the ID/10 Contract but such opportunItles are

unocrtaTn.

      37.     DataPath would be damaged by General Dynamlcs's failure to purchase

all Type 5 terminals from DataPath Under RTEP W15P7Z'-QT-R L435 (WINT 0014),

because DataPath may lost other futons business apportunffles, such as the future

opportunity to participate In other IDl1Q contracts with the Government but such

opportunities are uncertain .

      38. DataPath would be damaged by General DymamWs failure to purchase
all Type 5 terminals from DataPath under RTEP W15P7T-07-R EA35 (WINT 0444),

because losing these sales would throw an undue overhead burden an the remainder of

DataPath's other contracts, cause QataPeth to lose production personnel that it cannot

readily employ wftut this work. and limit its opportunities for other work, Including

other Government work.

      39.     All conditions precedent to this action and the grant of relief requested by

DataPath have been performed or have occurred or have been walved, satisfied or

excused .
                                       COUNT I
                    (Interlocutory and Permanent Injunctive Rellel)
      40.     DataPath Incorporates by reference and realleges: the allegations

contained In Paragraphs I through 39, as If fully set forth herein.

       41 .   To prevent immediate and Irreparable Injury. loss, or damage to Data Path.

for which there is no adequ ate remedy at law, DatePath Is entitled to an interlocutory

injunction that Immediately enjoins General Dyna mics from either awarding a purchase




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order or subcontract for Type 5 satellite terminals to any person other than DataPath or

manufacturing such terminals Itself and providing them to the Government.
      42 . DataPath Is further entitled to the grant of a permanent Injunction
restraining and enjoining General Dynamics from either warding a purchase order or
subcontract for Typo 5 satellite terminals to any person other than DataPath or
mancfactuft such terminals ftself and priding them to the Government .

                                        COUNT
                                 (Specific Performance)

      43.     DataPath irtt:orporates by reference and realleges. the allegations
captained In Paragraphs 'l through 42, as if fully set forth herein.

      44. DataPath and General Dynamics have agreed to all essential terms of an
agreement under which General Dynamics would purchase all Type 5 satellite totminals
from DataPath .
       45. gataPath is entitled to an order requiring specfflc performance of General
Dynamlcs's obligations to purchase all Type 5 satellite terminals from DataPath .
                                        COUNT III
                                   (Breach of Co ntract)

       46. DataPath Incorporates by reference and realteQes the allegations

contained ire Paragraphs I through 46, as lf fully set forth herein.

       47. DataPath is entitled to recover all direct damages Incurred as a result of

Gene ral Dynamics's breach of th e Teaming Agreement.
                                         COUNT IV
                                     (Attorneys' Fees)

       48. DataPath Incorporates by refe rence and realleges the allegations
contained In Paragraphs I through 47 . as N fury set forth herein.


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       49. DataPath is entitled to attorneys' fees and cats ire accordance with Article
!X, Paragraph C of the Teaming Agreementft
                                      ftnierfor_Reffef

       WHEREFORE, Plaintiff DataPath . Inc. respectful[), requests that Your Honorable

Court Issue an order that grants the following relief undet Counts MY:
       (1) imposes an Interlocutory Injunction that lmmed:ateiy enjoins General
Dynamics from either awarding a purchase order or subcontract for Type 5 satellite
terminals to any person other than DataPath or manufacturing such terminals beff and

providing them to the Government .*

       (2) advances and consolidates the trial of the actlcrn of the merits on the claims

for Injunctive relief and specific performance with the hearing of this application;
       (3) permanently enjoins General Dynamics from ether awarding a purchase

order or subcontract for Type 5 satellite terminals 1o any person other than DetaPath or

manufactuft such terminals self and proMng them to the Government
       (4) grants specific performance of General DymamIcs's obligations to purchase all
Type 5 satellite terminals from DataPafh ;

       (5) awards to DataPath all damages It incurred as a result of General Dynamics's

breach of the Teaming Agreement
       (6) awards to DataPath all its attomeys' flees In thl- ; action;
       (7) casts af[ costs of this action on General Dynamics : and
       (S) grants such other and further relief as this Court deems just and proper .


       Respectfully submided this 39 at day of August, 2037 .



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      Case 1:07-cv-02442-CAP Document 1-1 Filed 10/03/07 Page 16 of 81




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                                      Ga. Bar No. 40047

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245 Peaddree Center Ave., NE
Atlanta, Georgia 30303-1227
Phone: 444521840
Fax: 404-688-4671

                                      ATTORNEYS FOR DATAPATH, I NC.




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                                     VERIFICATION
STATE OF GEORGIA §

COUNTY OF GWINNETT §

       PERSONALLY APPEARED before me, an officer duly authorized by law to
admInIster oaths, Steven R. Wilson, who after first being duly sworn, states :
       The allegations set forth In the foregoing Complaint and Application for Injunctive
Relief for and on behalf of DataPath . Inc. am true and cameo according to the records,
files, ard Information available to DataPath, IRC .


                                          David J . Hall

Steam a nd subsCtlb ed before me
th3s  day of August. 2007.



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    Case 1:07-cv-02442-CAP Document 1-1 Filed 10/03/07 Page 45 of 81




                 IN THE SUPERIOR COURT OF GIMNNETT COUNTY
                              STATE OF GEORGIA

DATAPATH, INCr,
      Plaftim
                                                  CIVIL ACTION
 vs,                          ~
                                                   FILE NO. 07Ar07WB-2
GENERAL DYNAMICS SATCOM                    ~
TECNNOLQEi[ES. INC.,
      D.kndanL



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      COMES NOW DftPath, Inc, ('DalaPa1N'~ PWhtff hereto, and files this Fast
Amended YerrW Complaint and shows the Coat as ioi vws:
      50. P! DataPath Incorporates hen Paragraph I throw 49 as ed forth

In ft original Verified QomplatnL
      51 . RAW amends ft Verged Complaint by deleting ft eAsting WM C
and nepl2tdng it wMh a more oarqpr+ehensiW and complete Exhibit C . a copy of which is
attached hereto and mad e a part her eoL
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       Plaintiff inoorponates here in Its PraW for Relief as set forth in Its original Verified
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     Case 1:07-cv-02442-CAP Document 1-1 Filed 10/03/07 Page 46 of 81




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    Case 1:07-cv-02442-CAP Document 1-1 Filed 10/03/07 Page 80 of 81




STATE OF GEORG1/y §
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COUNTY OF GWINNEIT 5
      PERSONALLY APPEARED before xne„ an officer duly authorized by law to
adm*ttsw aaths, David J. Hall, who met f first being duly swom, state

       The allegations set forth In the ftqoing First Amended Verified Qomptalrd and
Ap ton for h five Relief for and on behaff of DalaPiM . Insm are true end correct
according Io the records„ files, a nd Information available DafaRalfi, I=


                                       David J.

Sworn to and subscribed before me
this J_j day of SepWrter, 2007 .


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     Case 1:07-cv-02442-CAP Document 1-1 Filed 10/03/07 Page 81 of 81




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      This b t 7 car* $18 t 1 hm ft day served counsel ford pe rd98 with ft WW[1
ana foregoing First Mwr iaea Verified cornplatnt . by depositing a true and correct
copy thereof in the llrti4gd States WO, postop P mpald, property addressed as tokws;
             IC&Yx d, B. weckaftrn, EsqWe
             Epsteln Beduer & Green, P.C.
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      ThbIlday of September, 200T.




                                                     M. Jones
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